         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:95cr75-03


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                   ORDER
                          )
                          )
WILLIE JAMES McNEAL.      )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) [Doc. 707], filed

March 14, 2008.

     The Probation Office has completed a Supplement to the

Presentence Report Pursuant to Crack Cocaine Guideline Amendment

[Doc. 708, filed April 4, 2008]; however, the Government has not yet

responded to the Defendant’s motion, and it appears that such response (if

the Government intends to file one) is past due.




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     IT IS, THEREFORE, ORDERED that the Government shall file its

response, if any, to the Defendant’s Motion on or before April 14, 2008.




                                     Signed: April 10, 2008




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